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DOCUMENT
UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC 4:

DATE FILED: 2/18/2025
JANE DOE,

Plaintiff, Case No.: 1:24-cv-07975-AT
-against-
NOTICE OF VOLUNTARY

SEAN COMBS, DADDY’S HOUSE RECORDINGS DISMISSAL PURSUANT TO
INC., CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a RULE 41(a)(1)(A)() OF THE
COMBS ENTERPRISES LLC, BAD BOY FEDERAL RULES OF CIVIL
ENTERTAINMENT HOLDINGS, INC., BAD BOY PROCEDURE

PRODUCTIONS HOLDINGS, INC., BAD BOY BOOKS
HOLDINGS, INC., BAD BOY RECORDS LLC, BAD
BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, and ORGANIZATIONAL DOES
1-10,

Defendants.

Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Jane
Doe, by and through her undersigned counsel, hereby gives notice that the above-captioned
Action is voluntarily dismissed with prejudice. Counsel for Plaintiff have discussed this matter

with counsel for each Defendant, who acknowledge and consent to this submission.

Dated: New York, New York
February 14, 2025
CURIS LAW, PLLC

By:

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— AND —

THE BUZBEE LAW FIRM
Anthony G. Buzbee
Texas Bar No. 24001820
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— AND —

AVA LAW GROUP

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Attorneys for Jane Doe

SO ORDERED

Or

Judge Analisa Torres
United States District Judge

Dated: February 18 , 2025

